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 7                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                         Case No. 2:20-cr-00156-RFB-DJA
 9
                Plaintiff,                             Government’s Motion for Leave to
10                                                     Dismiss Indictment Without Prejudice
          vs.                                          Pursuant to Federal Rule of Criminal
11                                                     Procedure 48(a)
     ADALI ARNULFO ESCALANTE-
12   TRUJILLO,

13              Defendant.

14

15              The United States of America requests leave of Court pursuant to Rule 48(a) of the

16   Federal Rules of Criminal Procedure to dismiss without prejudice the Criminal Indictment

17   filed on July 8, 2020, ECF Doc. 1, as to defendant Adali Arnulfo Escalante-Trujillo.

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 1          The government has recently learned about events that cast doubt on the credibility

 2   of a government witness who is integral to prosecution of this defendant. In the interests of

 3   justice, the United States of America seeks to dismiss the pending indictment as to this

 4   defendant.

 5          The defendant is detained pending trial.

 6          Respectfully submitted March 28, 2024.

 7                                                 JASON M. FRIERSON
                                                   United States Attorney
 8
                                                 /s/ Jacob H. Operskalski
 9                                              JACOB H. OPERSKALSKI
                                                JOSHUA BRISTER
10                                              DANIEL R. SCHIESS
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 2                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                       Case No. 2:20-cr-00156-RFB-DJA
 4
               Plaintiff,                            [PROPOSED] ORDER of Dismissal
 5
         vs.
 6
     ADALI    ARNULFO               ESCALANTE-
 7   TRUJILLO,

 8             Defendant.

 9
               This matter coming before the Court on the Government’s Motion for Leave to
10
     Dismiss the Indictment as to Adali Arnulfo Escalante-Trujillo without prejudice pursuant
11
     to Federal Rule of Criminal Procedure 48(a), the Court having considered the premises
12
     therein and good cause showing, the Motion is GRANTED.
13
               It is therefore ORDERED that the Indictment is dismissed as to Adali Arnulfo
14
     Escalante-Trujillo without prejudice. The Defendant is ordered released immediately.
15
     DATED this 29th day of March, 2024.
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                                             HONORABLE RICHARD F. BOULWARE, II
18                                             UNITED STATES DISTRICT JUDGE

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